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 1 ROSEMARIE T. RING (State Bar No. 220769)
   rose.ring@mto.com
 2 JUSTIN P. RAPHAEL (State Bar No. 292380)
   Justin.Raphael@mto.com
 3 EMILY C. CURRAN-HUBERTY (State Bar
   No. 293065)
 4 Emily.Curran-Huberty@mto.com
   MUNGER, TOLLES & OLSON LLP
 5 560 Mission Street
   Twenty-Seventh Floor
 6 San Francisco, California 94105-2907
   Telephone:    (415) 512-4000
 7 Facsimile:    (415) 512-4077

 8 Attorneys for Third-Party Respondent
   Facebook, Inc.
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10
                             UNITED STATES DISTRICT COURT
11
                            NORTHERN DISTRICT OF CALIFORNIA
12                                OAKLAND DIVISION
13

14   EPIC GAMES, INC.                            Case No. 4:20-cv-05640-YGR-TSH
                         Plaintiffs Counter-
15                                               ADMINISTRATIVE MOTION OF NON-
                         defendant,
                                                 PARTY FACEBOOK, INC. TO SEAL
16        v.                                     TRIAL EXHIBITS
     APPLE INC.,
17                                               Hon. Yvonne Gonzalez Rogers
                         Defendant,
18                       Counterclaimant,        Trial: May 3, 2021
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                           ADMIN. MOTION OF NON-PARTY FACEBOOK, INC. TO SEAL TRIAL EXHIBITS
                                                                    No. 4:20-cv-05640-YGR-TSH
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 1          Pursuant to Local Civil Rules 7-11 and 79-5, Non-Party Facebook, Inc. (“Facebook”)

 2 hereby moves the Court for an administrative order sealing four (4) exhibits on the trial exhibit list

 3 submitted by Epic Games, Inc. (“Epic Games”), ECF 448, in whole or in part: PX-2411 [EGFB-

 4 000264], PX-2413 [EGFB-001138], PX-2414 [EGFB-002073], and PX-2415 [EGFB-002938].

 5 These documents include:

 6          •       Internal discussions among Facebook employees regarding Facebook’s strategy for
                    negotiations with Apple regarding distribution of Facebook gaming apps, including
 7                  regarding features of gaming apps that Facebook has considered but not released
                    and estimates of the impact of those features on an app’s success; and
 8

 9          •       Internal discussions among Facebook employees regarding Facebook’s strategy
                    related to video, photo and messaging products that are not at issue in this case.
10
            Facebook respectfully requests that portions of these documents containing confidential
11
     information as indicated in Facebook’s proposed redactions be sealed from the public record and,
12
     if the documents are used during trial proceedings, that the documents’ confidential, commercially
13
     sensitive contents not be displayed in public view or revealed during examinations of witnesses or
14
     argument. Pursuant to Civil Local Rule 79-5(d)(1)(C), redacted versions of the documents sought
15
     to be sealed accompany this motion, with the exception of PX-2415 [EGFB-002938], which
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     Facebook seeks to seal in its entirety.
17
                                               LEGAL STANDARD
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            Although there is “a general right to inspect and copy public records and documents,
19
     including judicial records and documents,” public “access to judicial records is not absolute.”
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     Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006) (internal quotation
21
     marks omitted). Thus, despite the “strong presumption in favor of access,” documents may be
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     sealed for “compelling reasons.” Id. (internal quotation marks omitted).
23
            Whether such reasons exist is a matter for “the sound discretion of the trial court,” but
24
     courts have recognized that the need to protect “sources of business information that might harm a
25
     litigant’s competitive standing” can be a compelling reason warranting sealing. Ctr. for Auto
26
     Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016) (internal quotation marks
27
     omitted). Indeed, “[c]ompelling reasons may exist to seal trade secrets, marketing strategies,
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                               ADMIN. MOTION OF NON-PARTY FACEBOOK, INC. TO SEAL TRIAL EXHIBITS
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 1 product development plans, detailed product-specific financial information, customer information,

 2 internal reports and other such materials that could harm a party’s competitive standing.” In re

 3 Google Location Hist. Litig., No. 5:18-CV-05062-EJD, 2021 WL 519380, at *10 (N.D. Cal. Jan.

 4 25, 2021) (internal quotation marks omitted).

 5          Courts in this District also have sealed documents containing confidential, internal

 6 deliberations regarding product features and business strategy. See Baird v. BlackRock

 7 Institutional Tr. Co., N.A., 403 F. Supp. 3d 765, 792 (N.D. Cal. 2019) (granting request to seal

 8 “sensitive information about the governance, administration, and operation of” BlackRock

 9 investment products and its “Investment Committee’s confidential actions and deliberations”);

10 Primus Grp., Inc. v. Inst. for Env’t Health, Inc., 395 F. Supp. 3d 1243, 1267 (N.D. Cal. 2019)

11 (sealing “internal Primus emails discussing Primus’s costs and pricing practices that are not

12 generally known to Primus’s customers and competitors”); Arista Networks, Inc. v. Cisco Sys.

13 Inc., No. 16-cv-00923-BLF, 2018 WL 2010622, at *5 (N.D. Cal. Apr. 30, 2018) (sealing

14 “information relating to Cisco’s internal documents, business and competitive strategies, and

15 private business communications” as well as “internal communications on strategy and customer

16 requirements”); Rodman v. Safeway Inc., No. 11-cv-03003-JST, 2014 WL 12787874, at *2 (N.D.

17 Cal. Aug. 22, 2014) (sealing “internal, nonpublic information discussing Safeway’s pricing

18 strategy, business decisionmaking, and financial records, which would expose Safeway to
19 competitive harm if disclosed”).

20                                             ARGUMENT
21          Epic Games has included on its trial exhibit list several documents that Facebook produced

22 in response to third-party subpoenas from Epic and Apple that contain confidential, commercially

23 sensitive information. As explained below, there are compelling reasons to seal these documents.

24          PX-2411 [EGFB-000264] (Exhibit 1) is an internal Facebook document that includes
25 confidential information regarding Facebook’s strategy in negotiating with Apple regarding

26 distribution of its apps on Apple devices as well as confidential numerical estimates of the impact

27 that Apple’s rejection of a never-released feature of Facebook’s app would have on Facebook’s

28 customer base for its gaming product. Disclosure of information regarding Facebook’s strategies
                                                      -2-
                              ADMIN. MOTION OF NON-PARTY FACEBOOK, INC. TO SEAL TRIAL EXHIBITS
                                                                       No. 4:20-cv-05640-YGR-TSH
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 1 for distribution of its apps would cause Facebook harm by giving Apple and other app distributors

 2 information that they could use against Facebook in future business negotiations, and could also

 3 disadvantage Facebook relative to other competitors in future strategic negotiations with app

 4 distributors. Sharma Decl. ¶ 7. Disclosure of information regarding features of gaming products

 5 that Facebook considered but did not release, and the impact of those features on the success of its

 6 product, would cause Facebook competitive harm by revealing Facebook’s strategy for gaming

 7 products to potential competitors. Sharma Decl. ¶ 7.

 8          PX-2413 [EGFB-001138] (Exhibit 2) is a series of internal Facebook communications in
 9 which Facebook employees are discussing and deliberating the company’s strategy for its

10 Facebook Gaming app following Apple’s rejection of that app from its App Store in the spring of

11 2020. These communications include discussions of both Facebook’s strategy in negotiating with

12 Apple regarding distribution of its apps on Apple devices and Facebook’s future strategy

13 regarding features of its gaming products. Disclosure of information regarding Facebook’s

14 strategies for distribution of its apps would cause Facebook harm by giving Apple and other app

15 distributors information that they could use against Facebook in future business negotiations, and

16 could also disadvantage Facebook relative to other competitors in future strategic negotiations.

17 Sharma Decl. ¶ 9. Disclosure of information regarding features of gaming products that Facebook

18 considered but did not release would cause Facebook competitive harm by revealing Facebook’s
19 strategy for gaming products to potential competitors. Sharma Decl. ¶ 9.

20          PX-2414 [EGFB-002073] (Exhibit 3) and PX-2415 [EGFB-002938] (Exhibit 4) include
21 internal discussions among Facebook employees regarding how to approach business negotiations

22 with Apple. These documents discuss Facebook’s strategy related to Apple’s approval of

23 Facebook’s gaming products which, if disclosed, would cause Facebook harm by giving Apple

24 and other app distributors information that they could use against Facebook in future business

25 negotiations, and could also disadvantage Facebook relative to other competitors in future

26 strategic negotiations. Sharma Decl. ¶ 11. These documents also contain confidential information

27 about Facebook’s strategy for messaging, photo and video products that are not at issue in this

28 case, the disclosure of which would cause Facebook competitive harm. Sharma Decl. ¶ 11. Cf.
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                              ADMIN. MOTION OF NON-PARTY FACEBOOK, INC. TO SEAL TRIAL EXHIBITS
                                                                       No. 4:20-cv-05640-YGR-TSH
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 1 Ctr. for Auto Safety, 809 F.3d at 1101 (right to public access only applies to information “more

 2 than tangentially related to the merits of a case”).

 3                                            CONCLUSION
 4          For the foregoing reasons, Facebook respectfully requests that the Court seal confidential

 5 information as indicated by Facebook’s proposed redactions in the following exhibits on Epic

 6 Games’s trial exhibit list: PX-2411 [EGFB-000264], PX-2413 [EGFB-001138], and PX-2414

 7 [EGFB-002073]. For PX-2415 [EGFB-002938], Facebook respectfully requests that the Court

 8 seal the document in its entirety.

 9 DATED: April 30, 2021                        Respectfully submitted,

10                                              MUNGER, TOLLES & OLSON LLP
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12                                              By:         /s/ Emily C. Curran-Huberty
                                                     EMILY C. CURRAN-HUBERTY
13                                              Attorneys for Third-Party Respondent
                                                FACEBOOK, INC.
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                              ADMIN. MOTION OF NON-PARTY FACEBOOK, INC. TO SEAL TRIAL EXHIBITS
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